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                                                UNDER SFAS.
  Memorandum
                                   C~II
  Subject:                                                  Date:

  United States v. Aurelio Patino, aka "Aurie,"             August 29,2018
  Adilson Reves, aka "Shanks," Christopher
                                                                                                -=   ~- ._
  Ruiz, aka "Sneaky," Jose Ville ~as, aka
  "T~rch"                                                                                            m
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  To:                                                       From:                                            ~
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  KIRY K. GRAY                                              GREGORY S. SCALLY 1 '~'~~
  Clerk, United States District Court                       Assistant United States Atterneyr~~- y
  Central District of California                            Criminal Division                 ~ ~

 The accompanying matter being filed on August 29, 2018,

                  relates to          X     does not relate to

(1) a matter pending in the Criminal Division ofthe USAO at any time between October 2002 and October 5, 2003,the
 dates during which Jacqueline Chooljian was Chief ofthe Criminal Division in the USAO;(2) a matter pending in the
 Major Frauds Section of the USAO at any time between October 5, 2003 and January 6, 2006, the date on which
 Jacqueline Chooljian resigned her appointment in the USAO; or(3) a matter in which Jacqueline Chooljian was
 personally involved or on which she was personally consulted while employed in the USAO.

                  relates to          X     does not relate to

 a matter in which Patrick J. Walsh was personally involved or on which he was personally consulted while employed in
 the USAO.

                  relates to          X     does not relate to

(1) a matter pending in the Riverside Branch ofthe USAO at any time between October 2, 2006 and Apri14, 2011, the
 dates spanning the date when Shen Pym became the Chief ofthe Riverside Branch ofthe USAO and the date when she
 resigned her appointment in the USAO;or(2) a matter in which Sheri Pym was personally involved or on which she
 was personally consulted while employed in the USAO.

                  relates to          X     does not relate to

(1) a matter pending in the Major Frauds Section ofthe USAO at any time between May 8, 2009 and March 31, 2011,
the dates spanning the date when Michael Wilner became a Deputy Chief ofthe Major Frauds Section ofthe USAO and
the date when he resigned his appointment in the USAO; or(2) a matter in which Michael Wilner was personally
involved or on which he was personally consulted while employed in the USAO.

                  relates to          X     does not relate to

(1) a matter pending in the Appellate Section ofthe USAO at any time between February 2002 and May 2002, the time
 period during which Jean Rosenbluth served as the Chief ofthe Appellate Section ofthe USAO;(2) a matter in which
 Jean Rosenbluth was personally involved or on which she was personally consulted while employed in the USAO
(between October 1, 1995 and May 31, 2002 as an Assistant United States Attorney, and between August 1, 2002 and
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 July 31, 2008 as a Special Assistant United States Attorney);(3) a matter in which current Assistant United States
 Attorney Richard Robinson is or has been personally involved, or a matter on which he has personally consulted while
 employed in the USAO; or(4) a matter pending in the Major Frauds Section ofthe USAO between May 4, 2012 and
 August 14, 2015,the time period during which Richard Robinson served as the Chief ofthe Major Frauds Section ofthe
 USAO.

                  relates to           X     does not relate to

(1) a matter pending in the Major Frauds Section ofthe USAO at any time between December 2001 and August 20,
2013,the dates spanning the date when Alka Sagar became a Deputy Chief ofthe Major Frauds Section ofthe USAO
 and the date when she resigned her appointment in the USAO;(2) a matter pending in the Major Crimes Section ofthe
 USAO at any time beriveen January 1991 and December 2001, the time period during which Alka Sagar served as a
Deputy Chief ofthe Major Crimes Section of the USAO; or(3)a matter in which Alka Sagar was personally involved
 or on which she was personally consulted while employed in the USAO.

                  relates to           X     does not relate to

(1) a matter pending in the Santa Ana branch ofthe USAO at any time between Apri12007, to August 22, 2013, the
 dates spanning the date when Douglas McCormick became a Deputy Chief of Santa Ana Branch ofthe USAO and the
 date when he resigned his appointment in the USAO; or(2) a matter in which Douglas McCormick was personally
involved or on which he was personally consulted while employed in the USAO.


                  relates to          X     does not relate to

(1) a matter pending in the General Crimes Section ofthe USAO at any time between January 12, 2012, and Apri130,
2015, the dates spanning the date when Rozella Oliver became a Deputy Chief ofthe General Crimes Section ofthe
 USAO, and subsequently, Chief ofthe General Crimes Section ofthe USAO,and the date when she resigned her
 appointment in the USAO; or(2) a matter in which Rozella Oliver was personally involved or on which she was
 personally consulted while employed in the USAO; or(3) a matter in which former Assistant United States Attorney
Evan Davis is or has been personally involved, or a matter on which he has personally consulted while employed in the
 USAO.


                  relates to          X     does not relate to

a matter in which Gail J. Standish was personally involved or on which she was personally consulted while employed in
the USAO(from May 1997 to Apri12001).

                  relates to          X     does not relate to

a matter in which Steve Kim was personally involved or on which he was personally consulted while employed in the
USAO (from September 2003 to November 2007).

                  relates to          X     does not relate to

a matter in which John Early was personally involved or on which he was personally consulted while employed in the
USAO (from June 1999 to January 2005).



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                 relates to          X    does not relate to

a matter in which Shashi H. Kewalramani was personally involved ar on which he was personally consulted while
employed in the USAO(from Apri12008 to January 2011).




                                                           GREGORY ~. SCALLY
                                                           Assistant United States Attorney
